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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION



Teso LT, UAB, Metacluster LT, UAB, and
Code200, UAB,

             Plaintiffs,                      Civil Action No. 2:20-cv-00073

             v.
                                               JURY TRIAL DEMANDED
Luminati Networks Ltd. and EMK Capital
LLP,

             Defendants.




                       OXYLABS’ SUR-REPLY TO LUMINATI’S
                     MOTION TO DISMISS AMENDED COMPLAINT




                                     SIEBMAN, FORREST,
                                     BURG & SMITH LLP

                                     MICHAEL C. SMITH

                                     CHARHON CALLAHAN
                                     ROBSON & GARZA, PLLC

                                     STEVEN CALLAHAN
                                     CRAIG TOLLIVER
                                     GEORGE T. “JORDE” SCOTT

                                     Counsel for Plaintiffs Teso LT, UAB,
                                     Metacluster LT, UAB, and Code200, UAB


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         Oxylabs’ causes of action state valid claims. In its reply brief (ECF No. 23) (“Reply”),

Luminati again resorts to arguments that rely on an improperly selective reading of the Amended

Complaint’s (“Complaint”) (ECF No. 14) allegations or misapply relevant law.

I.       OXYLABS ESTABLISHED SPECIFIC JURISDICTION OVER LUMINATI

         A.     Specific Jurisdiction Exists Over Luminati

         As demonstrated in its Response (ECF No. 22), Oxylabs established that Luminati directs

its advertising and marketing efforts to Texas, conducts and transacts business throughout Texas

and routinely files lawsuits in Texas.1 Resp. at 4-6. Indeed, Luminati acknowledges that “it is

true that Luminati conducts business in Texas, and would be subject to specific personal jurisdic-

tion for claims arising out of those contacts[.]” Reply at 1-2. What Luminati fails (or is unwill-

ing) to realize is that there is no dispute that Oxylabs’ asserted claims against Luminati arose out

of or relate to its advertising and marketing efforts, business, and litigation conducted in Texas.

         For example, Oxylabs alleges that Luminati made the false advertisements and false

statements at issue through press releases and communications directed to Luminati’s customers

and potential customers in the State of Texas. Compl. ¶ 8. Luminati’s relies on Blue Spike, LLC

v. Tex. Instruments, Inc., 12-CV-499, 2014 WL 11858195, at *3 (E.D. Tex. Mar. 13, 2014), to

suggest that statements on its website are not directed to Texas residents. Reply at 2. But in Blue

Spike, the Court considered whether a website had sufficient functionality to allow customers to

obtain services through the website and concluded that the “website has no features specifically


     1
        On a motion to dismiss for lack of personal jurisdiction, the allegations of the complaint
are taken as true to the extent that they are not contradicted by affidavits. Black v. Acme Markets,
Inc., 564 F.2d 681, 683 n.3 (5th Cir. 1977). In the Complaint, Oxylabs established a prima facie
showing of personal jurisdiction over Luminati under two independent grounds—specific juris-
diction and Rule 4(k)(2). Luminati has failed to offer any declaration or other evidence disputing
Oxylabs’ jurisdictional facts. Therefore, Oxylabs’ uncontroverted personal-jurisdiction allega-
tions sufficiently establish personal jurisdiction over Luminati.


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directed to Texas or intended to solicit Texas customers.” Id. Here, the focus is, in part, on Lu-

minati’s direct advertising and marketing efforts which, as Oxylabs pled, were specifically di-

rected to Texas customers and Texas residents.2 Compl. ¶ 8. Luminati also ignores the fact that

Oxylabs’ asserted claims are based, in part, on the false statements Luminati has made in con-

nection with the lawsuits it filed in this District. Id. ¶ 21. The asserted claims, therefore, arise out

of Luminati’s advertising campaign that was directed to Texas residents and lawsuits that Lumi-

nati filed in Texas. Accordingly, the Court should find specific jurisdiction over Luminati.3

       B.      Oxylabs Established Rule 4(k)(2) Personal Jurisdiction Over Luminati

       As pointed out in the Response, subjecting Luminati to the Court’s personal jurisdiction

is warranted under Rule 4(k)(2) because Luminati, a foreign entity, is not subject to jurisdiction

in any court of general jurisdiction. Luminati admits as much in its Reply. Reply at 2 (admitting

that Luminati “cannot concede jurisdiction in another district court”). Instead, Luminati claims

that its relevant conduct took place in Israel and that it was “directed to the world at large[.]” Id.

        “[S]o long as a defendant does not concede to jurisdiction in another state, a court may

use 4(k)(2) to confer jurisdiction.” Adams v. Unione Mediterranea Di Sicurta, 364 F.3d 646, 651

   2
        See, e.g., Compl. ¶ 8 (“Luminati . . . has customers in the State of Texas to whom it di-
rected the false advertisements and false statements at issue in this lawsuit”; “[Luminati’s] con-
tacts with the State of Texas have also given rise to Oxylabs’ claims, including but not limited to
the false advertisements and communications at issue in this lawsuit which were directed to indi-
viduals and entities located within the State of Texas”; “[Luminati’s] press releases and commu-
nications at issue in this lawsuit have been sent or directed to individuals and entities located
within the State of Texas.”).
   3
         Luminati does not rely on the “fair play and substantial justice” factor to avoid the exer-
cise of specific jurisdiction. And Luminati’s contention that it is not “at home” in this District is
of no relevance. Reply at 1. The case law is clear that Texas has a significant interest in protect-
ing its consumers from the consumer confusion and deception that Oxylabs alleges Luminati has
caused from its false advertising and false statements. See, e.g., Tempur-Pedic Int’l, Inc. v. Go
Satellite Inc., 758 F. Supp. 2d 366, 377 (N.D. Tex. 2010) (state has interest in protecting its con-
sumers from consumer confusion or deception). As such, the third factor of the specific-
jurisdiction inquiry is also met.


                                                   2
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(5th Cir. 2004). This is the case here, especially where Luminati admits that it directed its rele-

vant conduct “to the world at large” (which, of course, includes the United States). Reply at 2.

Further, despite Luminati’s arguments to the contrary, Oxylabs sufficiently alleged in its Com-

plaint that Luminati’s conduct from which the asserted claims arise occurred throughout the

United States. See Compl. ¶ 9. These allegations support personal jurisdiction under Rule

4(k)(2). And, in any event, Luminati’s conclusory arguments do not satisfy its burden to “affirm-

atively establish that [this] court lacked personal jurisdiction under 4(k)(2).” Nagravision SA v.

Gotech Int’l. Tech. Ltd., 882 F.3d 494, 499 (5th Cir. 2018).4

II.       OXYLABS’ CAUSES OF ACTION ARE NOT FEDERALLY PREEMPTED OR
          BARRED BY THE NOERR-PENNINGTON DOCTRINE

          Luminati argues that the Noerr-Pennington doctrine and federal patent law preempt or

bar all of Oxylabs’ asserted claims because Oxylabs has not plausibly alleged the objective and

subjective components of bad faith. Reply at 3-5. Luminati is wrong—Oxylabs’ causes of action

do not run afoul of the Noerr-Pennington doctrine and are not preempted by federal patent law.

          First, the Noerr-Pennington doctrine is an affirmative defense, not something the plain-

tiff must “plead around” to avoid a motion to dismiss under Rule 12(b)(6). Constr. Cost Data,

LLC v. Gordian Group, Inc., 16-CV-114, 2017 WL 2266993, at *6 (S.D. Tex. Apr. 24, 2017)

(“[A] plaintiff is under no obligation to plead against a possible affirmative defense or the possi-

ble exceptions to an affirmative defense.”). Thus, it is not necessary for Oxylabs to plead around

the Noerr-Pennington doctrine. Second, as Oxylabs discussed in its Response and Luminati ig-

nores in its Reply, courts do not apply the Noerr-Pennington doctrine to preclude claims prem-

      4
        If the Court finds that Oxylabs has not sufficiently established the Court’s personal juris-
diction over Luminati, Oxylabs respectfully requests the opportunity to take jurisdictional dis-
covery. See Graftech Int’l. Holdings Inc. v. GC&S Co., 12-CV-00720, 2014 WL 12591876, at *7
(E.D. Tex. Apr. 8, 2014) (court should allow plaintiff jurisdictional discovery where there has
been a “preliminary showing of jurisdiction”).


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ised on sending false and misleading communications to an opponent’s customers, prospective

customers, and application developers. See, e.g., Laitram Mach., Inc. v. Carnitech A/S, 901 F.

Supp. 1155, 1161 (E.D. La. 1995) (“The Noerr-Pennington doctrine does not extend to sending

letters to a competitor’s customers alleging violation of trade secrets and infringement of pa-

tents.”). Third, Oxylabs’ allegations easily meet the “sham” litigation exception to Noerr-

Pennington doctrine, thus precluding dismissal of the claims. See, e.g., GoForIt Entm’t, LLC v.

DigiMedia.com L.P., 750 F. Supp. 2d 712, 742 (N.D. Tex. 2010) (“Noerr-Pennington immunity

does not extend to conduct that is in fact a mere sham to cover what is nothing more than an at-

tempt to interfere directly with business relationships of a competitor.”) (citations omitted)).

       In its Reply, Luminati continues to rely on a selective reading of what Oxylabs has actu-

ally pled. For instance, Luminati argues that Oxylabs has not plausibly alleged objective bad

faith. Reply at 3. Luminati also incredibly contends that Oxylabs’ allegations do not meet the

required subjective bad-faith requirement. Id. at 5.

       Contrary to Luminati’s arguments, Oxylabs’ allegations are not deficient. Rather, the

Complaint illustrated, in detailed fashion, the underlying facts and knowledge possessed by Lu-

minati that readily establish that Luminati is making objectively baseless threats to Oxylabs’ cus-

tomers, potential customers, and business partners, including baseless threats of litigation. Ox-

ylabs’ allegations include, for example:

      Luminati (i) threatened Oxylabs’ customers, potential customers, and business partners
       with meritless allegations of patent infringement and (ii) advised Oxylabs’ customers, po-
       tential customers, and business partners that Oxylabs’ products are illegal to use and that
       it is illegal to sell products using Oxylabs’ software development kits. Compl. ¶ 18.

      Luminati misrepresented that this Court’s “approval” of the resolution of the first lawsuit
       filed by Luminati means that the Court determined what constituted “infringing technol-
       ogy,” and that “as a result” of the Court’s “approval” of the resolution of the lawsuit, no
       one other than Luminati may have an offering using “servers and/or Residential proxy
       nodes located in the United States.” Id. ¶ 21.

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      Luminati falsely represented the scope of Luminati’s patents by claiming that Luminati’s
       patents cover a “residential” proxy network and “servers and/or residential proxy nodes
       located in the United States.” Id. ¶ 22.

      Luminati falsely claimed that it is “the only proxy provider to use super proxies and the
       only one that has been given permission to use them in the US.” Id.

      Luminati wrongly claims that “[a]ll Luminati’s products are covered by the patents” iden-
       tified on its “patent marking” webpage. Id. ¶ 23.

       Oxylabs further alleged that “Luminati has no good-faith basis for such threats, state-

ments, and conduct—in fact, Luminati has made these threats and statements in bad faith be-

cause Luminati knows that its patents do not cover Oxylabs’ products and/or are invalid.” Id. ¶

18. Additionally, Oxylabs pleads that Luminati knows its threats and statements are untrue as

Oxylabs has served Luminati with detailed letters, non-infringement contentions, invalidity con-

tentions, eligibility contentions, expert reports, summary judgement motions, and Alice motions

demonstrating that Luminati’s patents are not infringed and invalid. Id. ¶ 19. Finally, to remove

any doubt, Oxylabs alleged that Luminati’s lawsuits are “shams” that are “objectively baseless

such that no reasonable litigant could realistically expect success on the merits and such baseless

lawsuits conceal an attempt to interfere directly with the business relationships of Oxylabs

through the use of the governmental process (as opposed to the outcome of that process) as an

anticompetitive weapon.” Id.

       Oxylabs also makes clear that the conduct-at-issue is a result of Luminati’s subjective

bad faith. Although evidence of subjective bad faith is often entirely within the defendant’s pos-

session, in addition to the allegations cited above, Oxylabs also specifically alleged that Lumina-

ti’s motivation for its false statements, meritless threats, and other actionable wrongs addressed

by this lawsuit is its desire to harm Oxylabs as evidenced by Luminati telling marketplace partic-

ipants that Luminati will “take Oxylabs out of business.” Id. ¶ 27. Indeed, Oxylabs alleged that

Luminati has had previous success with this type of strategy with its other competitors. Id.

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           In sum, Oxylabs has properly pled facts demonstrating that Luminati’s litigation against

Oxylabs, as well as the false advertisements, misleading statements and threats directed to Ox-

ylabs’ customers, potential customers and business partners, are objectively baseless and moti-

vated by a subjective intent to competitively harm Oxylabs. Oxylabs’ claims contain more than

enough “factual content” to allow this Court “to draw the reasonable inference that the defendant

is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Accepting as

true all of Oxylabs’ allegations, as is required at the pleadings stage, Oxylabs has stated a plausi-

ble basis for Luminati’s bad-faith actions and the application of the “sham litigation” exception

to the Noerr-Pennington doctrine.5 As a result, Luminati’s claims are neither barred by the

Noerr-Pennington doctrine nor preempted under federal law.

III.       OXYLABS’ CAUSES OF ACTION STATE VALID CLAIMS FOR RELIEF

           A.     Oxylabs Sufficiently Alleges A Lanham Act Claim

           Luminati argues that Oxylabs “lacks standing under the Lanham Act for failure to plausi-

bly allege a competitive injury.” Id. at 6. But Luminati then cites to the Complaint which states

“Oxylabs has been or is likely to be injured (including with respect to commercial and competi-

tive injury) as a result of the statements at issue.” Id. (citing Compl. ¶ 38) (emphasis added). Fur-

ther, the Complaint makes clear that Oxylabs has suffered commercial and competitive injury

because of Luminati’s unfair competition and false advertising. For example, Oxylabs alleged

that it “has suffered injury due to the conduct complained of herein, including loss of sales, in-

curring amounts in defending itself from Luminati’s claims and statements, lost profits, and/or

       5
       With respect to each of Oxylabs’ causes of action, Luminati reiterates its (unfounded) ar-
guments that there has not been a sufficient showing of objective or subjective bad faith and thus
each claim is barred and/or preempted. See Reply 5-10. The Court should reject Luminati’s ar-
guments for the reasons stated above (as well as in Oxylabs’ Response (at 8-16)) as it is beyond
dispute that Oxylabs has satisfied the pleading requirements for bad faith.


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damages to Oxylabs’ goodwill and commercial reputation.” Compl. ¶ 30. Thus, Oxylabs pleads

actual injuries, not speculative injuries as Luminati suggests. These types of injuries—which re-

sult from the weakening of a competitive position caused by a competitor’s false advertising—

fall squarely within the scope of Lanham Act. See, e.g., Harold H. Huggins Realty, Inc. v. FNC,

Inc., 634 F.3d 787, 798 (5th Cir. 2011) (“[P]laintiffs who have suffered an injury that negatively

impacts their ability to compete in the marketplace have standing to sue under § 43(a).”).

       B.      Oxylabs Sufficiently Alleges A False Patent Marking Claim

       Luminati argues that the false-patent-marking claim must be dismissed because the “al-

leged marking is not false.” Reply at 7. Luminati’s argument goes to the factual merits of the

claim, not whether the claim is sufficiently pled. Courts accept as true all well-pleaded facts and

view them in the light most favorable to the plaintiff. Baker v. Putnal, 75 F.3d 190, 196 (5th Cir.

1996). Here, Oxylabs included in the Complaint precisely why the patent marking statement is

false and provided an example supporting the falsity of the statement. Specifically, Oxylabs al-

leged that Luminati represents that “[a]ll Luminati’s products are covered by the [listed] pa-

tents[.]” Compl. ¶ 23. Oxylabs explained that “[t]his claim is false because, at a minimum, not

‘all’ of Luminati’s products are covered by all of the listed patents. As but one example, Lumina-

ti’s data center proxy product is not covered by one or more of the listed patents as, according to

Luminati, at least two of the listed patents allegedly only cover ‘residential’ proxies.” Id.

       Luminati next argues that Oxylabs did not plead intent to deceive with particularity. This

is not true. To sufficiently plead false-patent marking, “a complaint must . . . provide some ob-

jective indication to reasonably infer that the defendant was aware” of the false marking. In re

BP Lubricants USA Inc., 637 F.3d 1307, 1311 (Fed. Cir.2011). Oxylabs alleges that “Luminati’s

motivation for falsely claiming that ‘all’ of its products are covered by the listed patents is to de-

ceive the public, customers, and potential customers.” Id. These allegations are more than suffi-
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cient to demonstrate Luminati’s intent to deceive the public. In fact, courts have accepted mere

allegations that a defendant “knew or should have known” that its markings were false as suffi-

cient for purposes of satisfying the intent-to-deceive element at the pleading stage. See, e.g.,

Brinkmeier v. Graco Children’s Products Inc., 767 F. Supp. 2d 488, 497 (D. Del. 2011).

       Last, Luminati reiterates its claim that Oxylabs did not appropriately plead competitive

injury. But, as addressed above, Luminati’s argument fails for its selective reading of the Com-

plaint as it ignores the allegations in Paragraph 30 which clearly allege damages for lost profits

and harm to Oxylabs’ goodwill and commercial reputation. See also Compl. ¶ 41 (“Oxylabs has

suffered a competitive injury as a result of Defendants’ false patent marking.”). For these rea-

sons, Oxylabs has sufficiently pled its false-patent-marking claim.

       C.      Oxylabs Sufficiently Alleges Claims For Tortious Interference

       In its Motion, Luminati originally argued that Oxylabs’ tortious-interference claims failed

because Oxylabs did not identify any specific contract or actual or potential customers that Lu-

minati interfered with (or the nature of such interference) and that Oxylabs failed to “demon-

strate that Luminati’s alleged conduct was independently tortious or unlawful.” Mot. at 23-24.

Having successfully dispelled those arguments (see Resp. at 22-24), Luminati now complains

that Oxylabs’ allegations that Luminati “willfully and intentionally interfered with existing or

prospective contracts cannot be credited.” Reply at 9. But the detailed allegations discussed

above that establish bad-faith actions sufficiently demonstrate Luminati’s willful and intentional

interference. See Compl. ¶¶ 18-19, 21-23. 27. Luminati also claims that Oxylabs’ allegations of

“damage or loss” are insufficient. Reply at 9. Once again, Luminati ignores that Oxylabs specifi-

cally described its damages and losses from Luminati’s tortious conduct as including loss of

sales, lost profits, and damages to Oxylabs’ goodwill and commercial reputation. Compl. ¶ 30.

Oxylabs’ tortious-interference claims therefore state plausible and detailed claims for relief.
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       D.      Oxylabs Adequately Alleges A Business Disparagement Claim

       Contrary to Luminati’s argument (Reply at 9), Oxylabs identifies special damages in

support of its business-disparagement claim, including “lost revenues and profits with respect to

customers and/or business partners who refused to do business with Oxylabs on account of [Lu-

minati’s] communications.” Id. ¶¶ 30, 56. Further, it is against Oxylabs’ economic interests for

its customers to believe that doing business with Oxylabs will subject them to legal liability. See

id. ¶ 18. Oxylabs’ allegations satisfy the required specificity to survive a Rule 12(b)(6) motion.

       E.      Oxylabs Sufficiently Alleges A Defamation Claim

       Oxylabs alleges sufficient facts to establish a claim for defamation. Contrary to Lumina-

ti’s arguments (see Reply at 9), Oxylabs does identify specific statements containing false state-

ments that Luminati published to third parties. See Compl. ¶¶ 18, 21-24, 26-27, 30, 58-61. In

fact, the Complaint even includes direct quotes from Luminati’s public-relations communica-

tions giving Luminati fair notice of its defamatory conduct. See, e.g., Compl. ¶¶ 21-22. Luminati

also argues, for the first time, that the statute of limitations (an affirmative defense) prohibits the

defamation claim. While Luminati cannot raise new arguments in its Reply such that this argu-

ment is improper,6 and Oxylabs’ pleading of the discovery rule (see Compl. ¶ 32) would pre-




   6
        See, e.g., Plastronics Socket Partners, Ltd. v. Dong Weon Hwang, 18-CV-00014, 2020
WL 1324733, at *8 (E.D. Tex. Mar. 20, 2020) (“The law of the Fifth Circuit is clear: ‘Arguments
raised for the first time in a reply brief are waived.’”) (citing and quoting Dixon v. Toyota Motor
Credit Corp., 794 F.3d 507, 508 (2015)).


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clude the defense on a motion to dismiss in any event,7 even Luminati concedes that some of the

facts giving rise to the defamation claim occurred within the statute of limitations. Reply at 10

(“[M]ost of the conduct described in the [Complaint] . . . is time-barred.”). Simply put, Lumina-

ti’s new statute-of-limitations argument is thus (i) waived and (ii) meritless.

          F.     Oxylabs Sufficiently Alleges A Conspiracy Claim

          As explained in Oxylabs’ Response (at 26-27), the Complaint provides great detail con-

cerning how Luminati and EMK combined to engage in a campaign to spread unethical and false

statements in communications and advertisements about Oxylabs, as well as Luminati’s alleged-

ly “patented” technology, for the purpose of forcing Oxylabs out of business. Compl. ¶¶ 1, 15,

17, 18, 21-23, 25, 28-29, 63-66. These allegations sufficiently establish a meeting of the minds.

Moreover, the intra-conspiracy doctrine does not apply because EMK and Luminati are neither a

single entity nor in a parent-subsidiary relationship. See Copperweld Corp. v. Independence Tube

Corp., 467 U.S. 752, 771 (1984). Finally, Luminati’s argument that Oxylabs did not sufficiently

allege a competitive injury fails for the reasons previously discussed above. See Section III.A.8

IV.       CONCLUSION

          For these reasons, the Court should deny Luminati’s Motion.




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         When a plaintiff pleads the discovery rule, the defendant has the burden to negate it. See,
e.g., Schlumberger Tech. Corp. v. Pasko, 544 S.W.3d 830, 834 (Tex. 2018) (“In cases in which
the plaintiff pleads the discovery rule, the defendant moving for summary judgment on limita-
tions bears the additional burden of negating the rule.”); Woods v. William M. Mercer, Inc., 769
S.W.2d 515, 518 n.2 (Tex. 1988) (same); Whiddon v. Chase Home Fin., LLC, 666 F. Supp. 2d
681, 689 (E.D. Tex. 2009) (“When asserting a limitations defense at the pleading stage, the de-
fendant’s burden to establish the accrual date includes negating the applicability of the discovery
rule.”); Huawei Techs. Co. v. Yiren Huang, 17-CV-00893, 2018 WL 1964180, at *10 (E.D. Tex.
Apr. 25, 2018) (on motion to dismiss, defendant bears the burden of disproving application of the
discovery rule). Luminati does not address the discovery rule, much less negate it.
      8
          Should the Court find any claim deficient, Oxylabs respectfully requests leave to amend.


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                                            MICHAEL C. SMITH
                                             Texas State Bar No. 18650410
                                             michaelsmith@siebman.com
                                            SIEBMAN, FORREST,
                                            BURG & SMITH LLP
                                            113 East Austin Street
                                            Marshall, Texas 75671
                                            Telephone: (903) 938-8900
                                            Telecopier: (972) 767-4620

                                            STEVEN CALLAHAN
                                             Texas State Bar No. 24053122
                                             scallahan@ccrglaw.com
                                            CRAIG TOLLIVER
                                             Texas State Bar No. 24028049
                                             ctolliver@ccrglaw.com
                                            GEORGE T. “JORDE” SCOTT
                                             Texas State Bar No. 24061276
                                             jscott@ccrglaw.com
                                            CHARHON CALLAHAN
                                            ROBSON & GARZA, PLLC
                                            3333 Lee Parkway, Suite 460
                                            Dallas, Texas 75219
                                            Telephone: (214) 521-6400
                                            Telecopier: (214) 764-8392

                                            Counsel for Teso LT, UAB, Oxysales, UAB,
                                            and Metacluster LT, UAB


                               CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was filed electronically in compli-
ance with Local Rule CV-5(a) on September 25, 2020. As such, this document was served on all
counsel who are deemed to have consented to electronic service. Local Rule CV-5(a)(3)(A).




                                            STEVEN CALLAHAN




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